                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS


In re:

MARK HAROLD ENGEN                                            Case No. 15-20184-rdb-13
MAUREEN ELIZABETH ENGEN

                              Debtor(s)

             APPLICATION FOR COMPENSATION PURSUANT TO §503(b)

   COMES NOW David A. Reed, Esq., undersigned counsel, and moves the Court for an Order

granting compensation pursuant to §503(b) of Title 11 from funds currently on hand with the

Chapter 13 Trustee;

   WHEREFORE the following suggestion is made to the Court:

   1. Post-confirmation fees of $300.00 will be incurred for the Motion for Entry of

Discharge.

   WHEREFORE Counsel requests an award of $300.00 for post-confirmation fees to be paid

from plan payments.

__/s/ David A. Reed________
David A. Reed #14581 KS
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Attorneys for Debtor(s)

                               CERTIFICATE OF SERVICE

   I certify that I mailed copy of the foregoing, postage prepaid, to Mark and Maureen Engen,
7905 W 96th St, Overland Park KS 66212 on 17 April 2017.

__/s/ David A. Reed_________
David A. Reed #14581 KS




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